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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                 4:08CR3019
                                     )
           v.                        )
                                     )
CHRISTOPHER G. DIGIORGIO,            )           MEMORANDUM AND ORDER
DOMINICK C. DIGIORGIO,               )
                                     )
                 Defendants.         )
                                     )


     The defendants filed motions to suppress all evidence
obtained as a result of the stop and search of the silver 2008
Chevrolet Impala they occupied on January 31, 2008.               Filings 18
and 20.   Both   defendants claim Nebraska State Patrol Trooper
Paul Hazard lacked probable cause to initiate a traffic stop of
their vehicle.    Defendant Christopher DiGiorgio further claims
his bag in the vehicle trunk was unlawfully searched without a
warrant, probable cause, or Christopher DiGiorgio’s consent.


     The brief submitted by Christopher DiGiorio in support of
his motion to suppress raised the following issues:


     •     Dominick DeGiorgio consented to the search of the
           vehicle.      However, he also advised the trooper that he
           owned the suitcase and the passenger, Christopher
           DiGiorgio, owned the bag in the trunk.             See ex. 2, (in-
           car DVD), at 19:40-41.


     •     Dominick DeGiorgio did not give the trooper permission
           nor did he consent to Trooper Hazard’s search of
           Christopher DiGiorio’s bag.
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     •     Dominick DeGiorgio did not have the authority to give
           consent to search Christopher DiGiorgio’s bag.


     •     Trooper Hazard never requested Christopher DiGiorgio’s
           consent to search his bag.


     •     Christopher DiGiorgio never consented to the search of
           his bag.


     •     Christopher DiGiorgio had no reasonable way to object
           to the officer’s search of his bag since the officer
           refused to respond to his questions and locked him in
           the back of the officer’s patrol vehicle during the
           search.


     •     Trooper Hazard lacked probable cause to open and search
           Christopher DiGiorgio’s bag.


See filing 21.


     The government’s responsive brief failed to address any of
these issues, instead relying solely on its claim that
Christopher DiGiorgio lacked standing to object to the search of
the bag in the vehicle trunk found to contain illegal drugs.
Filing 29.   Under this court’s local rules, had the government
been the moving party, the court would have considered all issues
it failed to brief abandoned.       NECrimR 12.3 (b)(1).         However, the
local rules do not permit me to summarily rule against the
government for failure to brief the substantial issues of law
raised by Christopher DiGiorgio and argued by his counsel and the
government at the close of the evidentiary hearing.



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     It is the government who has the burden of proving the
search of Christopher DiGiorgio’s bag was valid.             If it intends
to prosecute its indictment against Christopher DiGiorgio using
the evidence found during the search conducted on January 31,
2008, it is obligated to advise the court of the relevant law and
explain why the facts of this case support denial of this
defendant’s motion to suppress.



     IT THEREFORE HEREBY IS ORDERED:

     1.    The government is given until May 30, 2008 to file a
           brief addressing the factual and legal issues raised in
           defendant Christopher DiGiorgio’s brief and during the
           parties’ oral argument at the conclusion of the
           evidentiary hearing. Any issues not briefed by the
           government as required under this order will be deemed
           conceded by the government.

     2.    Defendant Christopher DiGiorgio is given five days
           thereafter to submit a responsive brief, at which time,
           his motion will be deemed submitted.


     DATED this 23rd day of May, 2008.


                                    BY THE COURT:


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge




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